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CARL|NE CRAWFORD,
Plaintiff,
v. Case No. 04-2720-BIP

IV|UVlCO THEATERS, lNC.,

>(-=l~>l-!t-X-X-\f-!|-H~

Defendant.

 

ORDER GRANTING DEFENDANT IV|UV|CO THEATERS, lNC.’S N|OT|ON FOR
LEAVE TO FlLE RESPONSE TO PLAINT|FF’S OBJECT|ON TO DEFENDANT’S
OBJECT|ONS TO THE MAG|STRATE JUDGE’S ORDER
GRANT|NG PLA|NT|FF’S NlOTlON FOR JURY TR|AL

 

Before the Court is the l\/lay 31, 2005 motion by Defendant l\/luvico Theaters, |nc.
for leave to file a response to Plaintiff’s pleading titled “| P|aintiff Carline CraWiord,
Object to Defendant l\f|uvico Theaters lnc.’s Ob}eotion to Have l\/ly l\/lotion for a Jury Trial
Dismissed.” For good cause shoWn, the motion is granted and the response attached
to Defendant’s motion for leave to file response shall be deemed filed as of the date of
entry of this order.

g\ _____.

|T |S SO ORDERED this l day 0f stLL»L , 2005.

 

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This document entered on the docket sheet in com |iance
with Hule 58 and/or 79(a) FFtCP on ' 'C' ..)

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02720 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Carline Crawford
504 Haynes
Mphs7 TN 38111

John W. Simmons

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER
3725 Champion Hills Dr.

Ste. 3000

Memphis7 TN 38125

Honorable J. Breen
US DISTRICT COURT

